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                                                                        U.S. Department of Justice

                                                                        United States Attorney
                                                                        District of New Jersey
                                                                        Civil Division

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                                                                                  June 15, 2020
BY ECF
The Honorable Katharine S. Hayden
United States District Court Judge
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

          Re:       Merit Medical Systems, Inc. v. William P. Barr, et al., Civil
                    Action No. 2:20-cv-6468 (KSH)(CLW)

Dear Judge Hayden:

      We are the Assistant U.S. Attorneys assigned to represent Defendants in the
above-referenced matter. We write respectfully to request a thirty-day extension of
time to file our response to Plaintiff’s motion for a preliminary injunction, from June
22, 2020, until July 22, 2020. Counsel for Plaintiff consents to this requested
extension.

       Plaintiff Merit Medical Systems, Inc. (“Merit”) filed a complaint on May 28,
2020, alleging that the practice of administratively terminating qui tam cases in the
District of New Jersey violates its First Amendment and common law rights of access
to judicial records. On June 2, 2020, Merit moved for a preliminary injunction
prohibiting the administrative closure of qui tam cases. ECF Nos. 4, 5. The proposed
order accompanying Merit’s preliminary injunction application indicates that Merit
seeks an interim order imposing the following constraints: “(1) government attorneys
shall refrain filing motions requesting administrative closure and indefinite sealing
of qui tam cases, with no judicial review; and (2) the United States District Court for
the District of New Jersey shall refrain from administratively closing and sealing qui
tam cases indefinitely, with no judicial review.” ECF 4-4, p. 2. According to a docket
entry automatically generated by the Clerk’s Office, the motion for preliminary
injunction is returnable on July 6, 2020, which would make Defendants’ response due
on June 22, 2020. The Government reserves all rights to contest proper service.


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      Merit’s instant case is related to another matter pending in this Court before
Judge Cecchi. On June 12, 2020, the United States intervened in that matter, a qui
tam action against Merit at U.S. ex rel. Wolf v. Merit Medical Systems, Inc., Civil
Action No. 16-1855 (CCC)(MF).

       Merit’s complaint and motion for preliminary injunction raise complex
procedural and substantive issues, and the Government seeks an additional thirty
days, from June 22 until July 22, 2020, to respond fully to the issues raised therein.
The extension is necessary for the Government to fully address the relevant issues
and to coordinate with the interested parties, which include the U.S. Attorney’s
Office, different parts of the Civil Division within the Department of Justice, and the
U.S. District Court for the District of New Jersey, which is named as a defendant
along with the Attorney General and the Department of Justice.

      For these reasons, Defendants respectfully request that the Court extend the
time for Defendants to respond to Merit’s motion for preliminary injunction from
June 22, 2020 until July 22, 2020. We have enclosed a proposed order reflecting this
request. If Your Honor would like a conference call with the parties to discuss this
request, we would be pleased to arrange such a call.

      Thank you very much for your consideration of this matter.

                                              Respectfully submitted,

                                              CRAIG CARPENITO
                                              United States Attorney

                                              By: s/ Jane Dattilo_____
                                              JANE DATTILO
                                              Assistant United States Attorney

                                              By: s/ Jessica O’Neill_____
                                              JESSICA O’NEILL
                                              Assistant United States Attorney

cc:   Plaintiff’s counsel (via ECF)




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